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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                            Case No. 17-20003-CIV-TORRES

                                   CONSENT CASE 1

  NARCISA PEREZ CHAVEZ

        Plaintiff,

  vs.

  BERNARDA M. ARANCEDO,

        Defendant.
  _____________________________________/

                     ORDER SETTING CIVIL TRIAL DATE, PRETRIAL
                       SCHEDULE, AND REQUIRING MEDIATION

        A jury trial in this case is hereby scheduled and shall be specially set to

  commence on October 9, 2018 at 9:00 a.m. before Edwin G. Torres, United States

  Magistrate Judge, in the James Lawrence King Federal Justice Building, 99

  Northeast 4th Street, Tenth Floor, Courtroom 5, Miami, Florida 33132.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        l.     A Pretrial Conference shall be held in this action on September 28, 2018

  at 11:00 a.m. No calendar call will be necessary.




        1      The parties have stipulated to the full exercise of jurisdiction by the
  undersigned Magistrate Judge to conduct any and all further proceedings in this
  case, including trial.
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           2.   Every motion filed in this case shall attach one proposed original order

  granting the motion. The order shall contain the up-to-date service list (names and

  addresses) of all attorneys in the case.        In light of the district court=s new

  computerized filing program CM/ECF, the proposed order should be attached as an

  exhibit to the motion and docketed on the system.

           3.   Counsel must meet no later than thirty days before the start of trial to

  confer on the preparation of a Pretrial Stipulation. The original and one copy of a

  Joint Pretrial Stipulation must be filed on or before the date set forth below. The

  stipulation shall conform to Local Rule 16.1(e) and include a joint, neutral summary

  of the claims and defenses in the case, not to exceed one short paragraph per litigant

  claim, to be read as an introduction for voir dire examination. The Court will not

  accept unilateral Pretrial Stipulations, and will strike sua sponte any such

  submissions. Should any of the parties fail to cooperate in the preparation of the

  Joint Pretrial Stipulation, all other parties shall file a certification with the Court

  stating the circumstances. Upon receipt of such certification, the Court shall issue

  an order requiring the non-cooperating party or parties to show cause why such party

  or parties (and their respective attorneys) have failed to comply with the Court=s

  order.

           4.   For a jury trial, the parties shall submit joint proposed jury instructions

  on or before the first day of trial. The Court does not require the filing of proposed

  voir dire questions, although either party may file such a request before the date of

  the pretrial conference if they choose. For specific directions regarding the Court=s
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  voir dire /jury selection process and the preparation of jury instructions, the Court

  refers the parties to the provisions of the Court=s Order on Trial Instructions entered

  contemporaneously with this Order.

        5.      For a bench trial, each party shall file Proposed Findings of Fact and

  Conclusions of Law on or before the first date of the trial. Proposed Findings of Fact

  shall be supported by citations to the documentary evidence, if applicable.

  Conclusions of Law shall be supported by citations of authority. Paper copies shall

  be delivered to Chambers at the time of filing, together with an electronic version in

  Corel WordPerfect format (version 10.0 or greater), addressed to the Court=s CM/ECF

  mailbox, torres@flsd.uscourts.gov.

        6.      If deposition transcripts will be used at trial, the parties shall comply

  with the following guidelines:

                a.    Ten business days prior to the date of the pretrial conference

  Plaintiff shall serve designations of any deposition transcripts it intends to use at

  trial. Three business days later, Defendant shall serve its counter-designations,

  together with any objections to Plaintiff=s designations. Three business days later

  Plaintiff shall serve any rebuttal designations, together with any objections to

  Defendant=s counter-designations.       By the time of the pretrial conference,

  Defendant shall serve any objections to Plaintiff=s rebuttal designations. The Court

  may entertain arguments on any objections to the designations at the pretrial

  conference.
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               b.     By the date of the pretrial conference, the parties shall prepare

  and jointly file one transcript for each deposition to be used during trial. The parties

  shall edit the transcript, using a mini-transcript preferably, to remove all irrelevant,

  extraneous and unnecessary pages. Each portion of the testimony designated shall

  be bracketed to indicate beginning and end.       A notice of filing setting forth each

  party=s designated testimony by line and page, and setting forth all objections, shall

  be filed with the transcript. In addition to listing objections in the notice of filing,

  the objections shall also be indicated in the margin of the transcript. The parties

  may either write their objections in the margins, or use logical abbreviations that

  will be apparent to the Court and other parties (for example AH@ for hearsay). If the

  parties use abbreviations, the notice of filing must include a key for the Court=s

  reference.

        7.     A Motion for Continuance shall not stay the requirement for the filing of

  a Pretrial Stipulation and, unless an emergency situation arises, a motion for

  continuance will not be considered unless it is filed at least twenty (20) days prior to

  the date on which trial is scheduled to commence. A continuance of the trial date

  will be granted only on a showing of compelling circumstances and, most likely, only

  if there is agreement of the parties as the trial date in this Order is specially set at

  the parties= request.

        8.     The following timetable shall govern the remaining pretrial procedures

  in this case. This pretrial schedule shall also not be modified absent agreement of

  the parties or, if no agreement, compelling circumstances.         All motions for an
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  enlargement of time for discovery and relating to dispositive motions must include a

  statement as to whether the requested extension will affect the trial date or any

  other deadline set forth in this timetable. Failure to include such a statement may

  be grounds for denial of the motion.

                           Pretrial Deadlines and Trial Date

        April 30, 2018             All motions to amend pleadings or join parties are
                                   filed.

        May 14, 2018               Parties exchange expert witness summaries and
                                   reports required by Local Rule 16.1.K.

        June 13, 2018              Parties exchange   rebuttal  expert  witness
                                   summaries and reports required by Local Rule
                                   16.1.K.

        May 31, 2018               Deadline for supplementation of discovery under
                                   Rule 26(e).

        June 28, 2018              All discovery,    including    expert   discovery,   is
                                   completed.

        July 9, 2018               Parties to have completed mediation.

        July 2, 2018               All pre-trial motions other than motions in limine
                                   are filed.

        August 27, 2018            Pre-trial motions in limine shall be filed.

        September 28, 2018         Joint Pretrial Stipulation shall be filed.

        September 28, 2018         Pretrial Conference (and completion of deposition
                                   designation process outlined above).

        October 9, 2018            Beginning of Trial (and filing of proposed jury
                                   instructions/findings of fact and conclusions of law).

        9.     In order to facilitate the accurate transcription of the trial proceeding,

  the parties shall provide to Maedon Clark, the Court=s Courtroom Deputy, at 301
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  North Miami Avenue, Third Floor, Room 392, Miami, Florida 33128, a copy of a) the

  witness and exhibit lists, b) a designation of unique proper nouns/names which may

  be used at trial, and c) a list of the names of all attorneys who will participate in the

  trial, to be received no later than the first day of trial.

           10.   If the case is settled, counsel are directed to inform the Court promptly

  at (305) 523-5750 and to submit a stipulation for dismissal signed by all parties

  together with an appropriate Order of Dismissal, pursuant to Fed. R. Civ. P. 41(a)(1).

  Such stipulation and order must be filed within twenty (20) days of notification of

  settlement to the Court.

           11.   The parties may stipulate to extend the time to answer interrogatories,

  produce documents, and answer requests for admissions. The parties shall not file

  with the Court notices or motions memorializing any such stipulation unless the

  stipulation interferes with the time set for completing discovery, hearing a motion, or

  trial.    See Fed. R. Civ. P. 29. Stipulations that would so interfere may be made

  only with the Court=s approval. The parties shall not file any discovery materials

  unless necessary to support a discovery motion, as required by Local Rule 26.1(b)-(c).

           12.   The parties are referred to mediation in accordance with Local Rule

  16.2, but the parties shall complete mediation by the date set forth herein. The

  parties shall notify the Court of the results of the mediation (settled, impasse or

  adjourned to continue discussions) within five (5) days of the conclusion of the

  mediation.
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          13.   This Order is intended to supplant the requirements of Fed. R. Civ. P.

  26(a)(3), and any Local Rule inconsistent with the schedule set forth herein. Any

  private agreement, suggested or proposed Rule 16 scheduling conference agreements

  between counsel, Rule 16 scheduling order, or orders of the court attempting to set

  dates contrary to this order are hereby STRICKEN and VOID.

          IT IS FURTHER ORDERED that failure to comply with this or any Order of

  this Court, the Local Rules, or any other applicable rule may result in sanctions or

  other appropriate actions. It is the duty of all counsel to enforce the timetable set

  forth herein in order to ensure an expeditious resolution of this cause.

          DONE AND ORDERED in Chambers at Miami, Florida, this 15th day of May

  2017.



                                                /s/ Edwin G. Torres
                                                EDWIN G. TORRES
                                                United States Magistrate Judge
